            Case 1:21-cr-00594-TSC Document 43 Filed 01/31/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                   Case No. 21-CR-594 (TSC)
       v.

 JOSHUA DILLON HAYNES

            Defendant.

         GOVERNMENT’S SECOND SUPPLEMENTAL SENTENCING FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this second supplemental sentencing memorandum

to amend its sentencing recommendation. The government recommends a sentence of

imprisonment of 32 months, 3 years of supervised release, $2,000 restitution to the Architect of

the Capitol, and $23,900 restitution to ZDF, one of the victims of the offense to which the

defendant pled guilty, per the terms of the Mandatory Victim Witness Restitution Act.

        In the plea agreement, the parties initially calculated an offense level of 17 and a criminal

history category of II, for a guideline range of 27-33 months. This was based on a base offense

level of 7 for Count 2, in considering it (erroneously) a 20-year felony. The error to the statutory

maximum was corrected at the plea hearing, but the guidelines were not revised. In the initial pre-

sentence report, probation calculated an offense level of 17, and a criminal history category of III,

for a sentencing guideline range of 30-37 months. In forming its sentencing recommendation, the

government considered the factors enumerated in 18 U.S.C. § 3553, to include the estimated

sentencing guideline range of 30-37 months, and recommended a sentence of imprisonment of 36

months, considering the aggravating factors associated with the defendant’s conduct, as set forth
                                               1
          Case 1:21-cr-00594-TSC Document 43 Filed 01/31/23 Page 2 of 2




in the government’s initial sentencing memorandum (ECF 39).

       The revised pre-sentence report notes that the base offense level for 18 U.S.C. § 1363 is 6,

instead of 7, which reduced the total offense level to 16. (ECF 42). With a criminal history category

III, the guideline range is now 27-33 months. Considering the guideline range, and the other factors

set forth in the government’s original sentencing memorandum, the government recommends a

sentence of imprisonment of 32 months.

       The government further notes that as set forth in the government’s first supplemental

sentencing memorandum, one of the victims of the offense to which the defendant pled guilty

submitted a claim for restitution. (ECF 40). ZDF and its personnel were present in the media

staging area and suffered property losses in the amount detailed because of the destructive acts of

the defendant and others. Thus, the government seeks restitution in that amount under the

Mandatory Victim Witness Restitution Act. 18 U.S.C. § 3663A(b)(1).

       Thus, for the reasons outlined in the government’s sentencing memorandum and herein,

the government recommends that the Court sentence the defendant to 32 months’ imprisonment,

3 years supervised release, $2,000 restitution to the Architect of the Capitol, and $23,900

restitution to ZDF.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      BY:         s/Jennifer Leigh Blackwell
                                              Jennifer Leigh Blackwell
                                              Assistant United States Attorney
                                              D.C. Bar No. 481097


                                                 2
